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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Bernadette Williams, et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:22−cv−01422
                                                              Honorable Virginia M.
                                                              Kendall
State Farm Mutual Automobile Insurance
Company
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 5, 2024:


       MINUTE entry before the Honorable Keri L. Holleb Hotaling: If they have not
already done so, by 2/7/2024, the parties are to send a proposed order for their Joint
Motion for Entry of ESI Protocol [Dkt. 139] to Judge Holleb Hotaling's Proposed Order
inbox Proposed_Order_HollebHotaling@ilnd.uscourts.g ov.(rbf, )




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